     Case 4:05-cr-00125-DCB-BPV Document 1463 Filed 12/21/20 Page 1 of 4



 1    WO
 2
 3
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                                FOR THE DISTRICT OF ARIZONA
 7
 8     United States of America,                         No. CR-05-00125-001-TUC-DCB (BPV)
 9                   Plaintiff,                          ORDER
10     v.
11     Leonardo Burgos-Valencia,
12                   Defendant.
13
14           The Defendant seeks compassionate release because his incarceration increases the
15    risk that he will contract COVID-19, and he has serious medical conditions which place
16    him at high risk for death if he becomes ill with COVID-19. In addition to being 67 years
17    old, he has had one kidney removed due to cancer, has high blood pressure, and he is obese.
18    (Medical Records Sealed (Doc. 1458)).
19           To be eligible for compassionate release, the Defendant must demonstrate: (1) the
20    existence of extraordinary and compelling reasons, within the meaning of the statute; and
21    (2) that he is not a danger to the community. 18 U.S.C. § 3582(c)(1)(A).
22           The statute requires that any reduction be “consistent with applicable policy
23    statements issued by the Sentencing Commission addressing the merits in the case,
24    including the explicit definition in U.S.S.G. § 1B1.13 for “extraordinary and compelling
25    reasons” that may make a defendant eligible for compassionate release. Relevant here,
26    those include (1) a “terminal illness”; (2) a serious medical condition “that substantially
27    diminishes the ability of the defendant to provide self-care within the environment of a
28    correctional facility and from which he or she is not expected to recover”; or (3) a defendant
     Case 4:05-cr-00125-DCB-BPV Document 1463 Filed 12/21/20 Page 2 of 4



 1    who is at least 65 years old, is experiencing a serious deterioration in physical or mental
 2    health because of the aging process, and “has served at least 10 years or 75 percent of his
 3    or her term of imprisonment, whichever is less.” U.S.S.G. § 1B1.13, n.1 (other grounds
 4    omitted). The Defendant bears the burden of proving the merits of his request.
 5           Compassionate release is a rare and extraordinary remedy, within a district court’s
 6    discretion to deny. United States v. Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020)
 7    (holding district court did not abuse its discretion by denying compassionate release despite
 8    defendant’s eligibility for that relief). While the COVID-19 pandemic is a “special
 9    circumstance [that] might warrant a change in the conditions of [a defendant’s]
10    confinement (including transfer to another facility if those risks are not being adequately
11    addressed,” the risks of COVID-19 do not entitle a defendant to release from detention
12    entirely. United States v. Dade, 959 F.3d 1136, 1139 (9th Cir. 2020). Importantly, “whether
13    or not [a defendant] faces a risk from COVID-19 in prison has no bearing on whether he
14    will be a danger to the community if released.” Id.
15           The Government argues that the Defendant should be denied compassionate release
16    because the facility where the Defendant is confined is effectively protecting the health of
17    inmates housed there,1 and there are not extraordinary and compelling reasons that justify
18    release because his medical conditions are stable and there is no showing that his general
19    health is not being maintained during his incarceration. It is undisputed that he has
20    exhausted the administrative avenues for relief and been denied compassionate release by
21    the Bureau of Prisons (BOP). The burden is on the Defendant to show his entitlement to
22    relief by proving he has “exhausted all administrative rights” and that “extraordinary and
23    compelling reasons” exist to support the motion. (Response (Doc. 1456) at 5) (citing 18
24    U.S.C. § 3582(c)(1)(A); United States v. Hamilton, 715 F.3d 328, 337 (11th Cir. 2013),
25    United States v. Butler, 970 F.2d 1017, 1026 (2d Cir. 1992)).
26    11
        (Gov’t Response (Doc. 1456) at 2-3 (setting out BOP policies relevant to controlling
      COVID), but see (Supp. Reply (Doc. 1460) at 1) (challenging application of BOP policies
27    and procedures, generally, because Giles W. Dalby is private contract prison). The
      Defendant fails to establish that any of the relevant BOP policies aimed at protecting the
28    federal prison population from contracting COVID do not apply at the facility where he is
      housed.

                                                  -2-
     Case 4:05-cr-00125-DCB-BPV Document 1463 Filed 12/21/20 Page 3 of 4



 1             The Court will not construe the “extraordinary and compelling reasons” under 18
 2    U.S.C. § 3582(c)(1)(A) and U.S.S.G. § 1B1.13, strictly, to require one of the express
 3    reasons, either a “terminal illness” or “a serious medical condition that substantially
 4    diminishes the ability of the defendant to provide self-care within the environment of a
 5    correctional facility and from which he or she is not expected to recover.” Such a limited
 6    view of compassionate release would make it unavailable for COVID, even for high-risk
 7    inmates until they actually contracted the illness. Instead, the Court applies the Sentencing
 8    Guidelines’ catch-all provision, which allows the Court to find an “extraordinary and
 9    compelling reason other than, or in combination with, the reasons described in subdivisions
10    (A) through (C).2” U.S.S.G. § 1B1.13 Application note 1(D).
11                                        Analysis: Conclusion
12             Defendant was convicted of trafficking large amounts of marijuana which were
13    transported into and sold in this country. He was the Mexico supplier for marijuana, which
14    was just one of the many drugs trafficked into the United States by a large drug trafficking
15    operation, involving approximately 18 codefendants, that continued for an extended period
16    of many years. He was convicted of marijuana drug trafficking offenses, conspiracy to
17    possess with intent to distribute, and participating in a continuing criminal enterprise.
18             The Defendant makes much of the change in attitude towards marijuana, reflected
19    in reduced advisory guideline ranges for marijuana offenses. He argues that he would have
20    been eligible under Amendment 782 for a reduction in sentence but for his conviction for
21    the continuing criminal enterprise offense. (Order (Doc. 1385) at 2.) Previously, the
22    conspiracy and continuing criminal enterprise convictions were held to be double jeopardy,
23    and on remand the Court exercised its discretion to dismiss either and dismissed the
24    conspiracy conviction rather than the continuing criminal enterprise conviction. (Amended
25    Judgment (1315)).
26             This resentencing decision precluded Defendant’s relief under Amendment 782. It
27    precludes relief here as well. The Defendant’s participation in this large-scale drug
28
      2
          §§ A-C include sentencing factors similar to § 3582 (c)(1)(A) sentencing factors.

                                                   -3-
     Case 4:05-cr-00125-DCB-BPV Document 1463 Filed 12/21/20 Page 4 of 4



 1    operation over an extended period defeats his plea for a reduced sentence because he only
 2    trafficked marijuana. He participated in a continuing criminal enterprise that trafficked
 3    large amounts of very dangerous drugs, not just marijuana. While he argues that he never
 4    used violence, drug trafficking offenses, especially large-scale operations of the type he
 5    promoted are especially serious and pose considerable danger to the community. United
 6    States v. Stone, 608 F.3d 939, 947 (6th Cir. 2010), United States v. Hare, 873 F.2d 796,
 7    798 (5th Cir.1989) (stating that “[t]he risk of continued narcotics trafficking on bail
 8    constitutes a risk to the community”), United States v. Leon, 766 F.2d 77, 81 (2d Cir.1985)
 9    ( “[I]t is clear that the harm to society caused by narcotics trafficking is encompassed within
10    Congress' definition of ‘danger’”). Danger to a community is not limited to a geographic
11    location in the United States where the offense of conviction has effects abroad. United
12    States v. Hir, 517 F.3d 1081, 1088-89 (9th Cir. 2008). If released, the Defendant would be
13    deported and pose a risk to communities in Mexico, which are already burdened with
14    rampant drug trafficking.
15           The Court finds that the Defendant’s medical conditions may make him high risk
16    for death in the event he does contract COVID, but the prison’s conditions of confinement
17    are addressing the risk of exposure. The 18 U.S.C. §3553(a) sentencing factors and
18    sentencing policies depicted in 18 U.S.C. § 3582(c)(1)(A) and U.S.S.G. § 1B1.13, in
19    combination, do not warrant a reduction in his sentence or his compassionate release.
20           Accordingly,
21           IT IS ORDERED that the Amended Motion for Compassionate Release (Doc.
22    1449) is DENIED.
23           Dated this 21st day of December, 2020.
24
25
26
27
28


                                                   -4-
